            Case 4:20-cv-00912-KGB Document 5 Filed 10/21/20 Page 1 of 1




                          IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF ARKANSAS
                                    CENTRAL DIVISION

ALVIN MCCULLOUGH,                                                                          PLAINTIFF
ADC #131910

v.                                     4:20-cv-00912-KGB/JTK

WENDY KELLEY, et al.                                                                   DEFENDANTS

                                              JUDGMENT

          Pursuant to the Order filed on this date, it is considered, ordered, and adjudged that plaintiff

Alvin McCullough’s complaint is dismissed without prejudice (Dkt. No. 1). The relief sought is

denied.     The Court certifies pursuant to 28 U.S.C. § 1915(a)(3) that an in forma pauperis appeal

taken from the Order and Judgment dismissing this action is considered frivolous and not in good

faith.

          So adjudged this 21st day of October, 2020.


                                                                 _____________________________
                                                                 Kristine G. Baker
                                                                 United States District Judge
